  Case 1:18-cv-00587-LO-IDD Document 1 Filed 05/17/18 Page 1 of 5 PageID# 1                                       O'Grody
                                                                                                          L
                                JN THE UNITED STATES DISTRICT COURT
                                                                                                   MAY I 7 2018
                       FORTHE                                    DISTRICT OF VIRGir lA.
                                                                                           CLERK,U5.DISTRICT COURT
                          COMPLAINT UNDER CIVIL RIGHTS ACT 42 U.S.C.§ \9A                       ALEXANDRIA,VIRGINIA

                                            Action Number _
                                            (To be supplied by the Clerk U.S. District Court)


         Please fill out this complaint fonn completely. The court needs the information requested in order to assure
that your complaint is processed as quickly as possible and that ail your claims are addressed. Please print/write
legibly or type.

                                                    1. PARTIES
A. Plaintiff:


                 (a)                                   Kl        Pa-jvi-g-
                                                      (Name)


                                                 (Inmate Number)

                 (C

                                        LOavJerVY
                                                     (Address)
         Plaintiff MUST keep the Clerk of Court notified of any change of address due to transfer or release. If
plaintiff fails to keep the Clerk informed ofsuch change, this action may be dismissed.

B.       Defendant (s):
        Plaintiff is advised that only persons acting under color of state law are proper defendants under section
1983. The Commonwealth of Virginia is immune under the Eleventh Amendment.

          Private parties such as attorneys and other inmates may not be sued under section 1983. In addition,
liability under section 1983 requires personal action by the defendant that caused you harm. Normally, the Director
ofthe Department of Corrections, wardens and sheriffs are not liable under section 1983 just because they supervise
persons who may have violated your rights. These persons are liable only if they were personally involved in the
alleged deprivation. In addition, prisons. Jails, and departments within an institution are not persons under section
1983.


                 (a)                    . i          I I ta \
                                                            (Name)

                 (b) pVc\> c ev.\ O C <: --f0 r            /jrr^L.r' j-j jfix 5y
                                                       (Title/Job description)

                 (c) 3Too                        iAo.^
                   '                            \'0)
                                                           (Address)
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